380 F.2d 376
    Frank Louis FALGOUT, Appellant,v.Mose TRUJILLO, Sheriff of the City and County of Denver, and Harold Dill, Chief of Police of the City of Denver, and the District Court for the Second Judicial District, State of Colorado, Appellees.
    No. 9288.
    United States Court of Appeals Tenth Circuit.
    July 5, 1967.
    
      Appeal from the United States District Court for the District of Colorado; Alfred A. Arraj, Judge.
      Albert B. Dawkins, Denver, Colo., for appellant.
      Bert M. Keating, Theodore A. Borrillo and Thomas May, Denver, Colo., for appellees.
      Before LEWIS, HILL and HICKEY, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellant, confined as a prisoner of the State of Colorado, filed his petition for a writ of habeas corpus in the United States District Court for the District of Colorado, raising the question of violation of his Constitutional rights. An able attorney was appointed to represent him there, an evidentiary hearing was had before Chief Judge Arraj and in a memorandum opinion the writ was denied. We have carefully reviewed the entire record and the denial is affirmed on the basis of, and for the reasons stated in, the opinion of the trial judge, reported in 270 F.Supp. 685, D.C.
    
    